Department of RomeandsscHi%oq99-UNA Document 850-4 Filed 0342/4 IPBUEG, Nétice of Action

US. Citizenship and-Immigration Services

a
THIS NOTICE DOES NOT GRANT ANY IMMIGRATION STATUS OR BENEFIT.

Receipt Number Case Type

SRC2 100750842 1140 - IMMIGRANT PETITION FOR ALIEN WORKER

Received Date Priority Date Petitioner

10/07/2020 09/03/2019 MAR JAC POULTRY INC

Notice Date Page Beneficiary A218 015 185

10/20/2020 1 of I REGMI, PRAKASH

MAR JAC POULTRY INC Notice Type: Approval Notice

Section: Other Workers, Sec.203(b)(3)(A)(iii)
Consulate:

ETA Case Number: A1924652605
SOC Code: 513022 Skill Level: 1
Work Site: GAINESVILLE GA

We have mailed an official notice about this case (and any relevant documentation) according to the mailing preferences you chose on Form G-28, Notice
of Entry of Appearance as Attorney or Accredited Representative. This is a courtesy copy, not the official notice,

The above petition has been approved. The petition indicates that the person for whom you are petitioning is in the United States and will apply for
adjustment of status. He or she should contact the local USCIS office to obtain Form 1-485, Application to Register Permanent Residence or Adjust Status.
A copy of this notice should be submitted with the application, with appropriate fee, to this Service Center. Additional information about eligibility for
adjustment of status may be obtained from the local USCIS office serving the area where he or she lives, or by calling 1-800-375-5283.

If the person for whom you are petitioning decides to apply for a visa outside the United States based upon this petition, the petitioner should file Form
1-824, Application for Action on an Approved Application or Petition, to request that we send the petition to the Department of State National Visa Center
(NVC).

The NVC processes all approved immigrant visa petitions that require consular action. The NVC also determines which consular post is the appropriate
consulate to complete visa processing. It will then forward the approved petition to that consulate.

The approval of this visa petition does not in itself grant any immigration status and does not guarantee that the alien beneficiary will subsequently be found
to be eligible for a visa, for admission to the United States, or for an extension, change, or adjustment of status.

This courtesy copy may not be used in lieu of official notification to demonstrate the filing or processing action taken on this case.
THIS FORM IS NOT A VISA AND MAY NOT BE USED IN PLACE OF A VISA.

The Small Business Regulatory Enforcement and Fairness Act established the Office of the National Ombudsman (ONO) at the Small Business
Administration. The ONO assists small businesses with issues related to federal regulations. If you are a small business with a comment or complaint about
regulatory enforcement, you may contact the ONO at www.sba.gov/ombudsman or phone 202-205-2417 or fax 202-481-5719.

NOTICE: Although this application or petition has been approved, USCIS and the U.S. Department of Homeland Security reserve the right to verify this
information before and/or after making a decision on your case so we can ensure that you have complied with applicable laws, rules, regulations, and other
legal authorities. We may review public information and records, contact others by mail, the internet or phone, conduct site inspections of businesses and
residences, or use other methods of verification. We will use the information obtained to determine whether you are eligible for the benefit you seck. If we
find any derogatory information, we will follow the law in determining whether to provide you (and the legal representative listed on your Form G-28, if you
submitted one) an opportunity to address that information before we make a formal decision on your case or start proceedings.

Please see the additional information on the back. You will be notified separately about any other cases you filed.
|
|

If this is an interview or biometrics appointment notice, please see the back of this notice for important information. Form I-797C 04/01/19

Texas Service Center

U.S. CITIZENSHIP & IMMIGRATION SVC
6046 N Belt Line Rd., STE 110

Irving TX 75038-0012

USCIS Contact Center: www.uscis.gov/contactcenter

Case 1:23-mi-99999-UNA Document 850-4 Filed 03/20/23 Page 2 of 2

If you are visiting a field office and need directions, including public transportation directions, please see
www.uscis.gov/fieldoffices for more information.

Notice for People with Disabilities

To request a disability accommodation:

¢ Go to uscis.gov/accommodations to make your request online, or
e Call the USCIS Contact Center at 800-375-5283 (TTY 800-767-1833) for help in English or Spanish. Asylum and
NACARA 203 applicants must call to make their request.

If you need a sign language interpreter, make your request as soon as you receive your appointment notice. The more
advance notice we have of your accommodation request, the better prepared we can be and less likely we will need to
reschedule your appointment. For more information about accommodations, visit uscis. gov/accommodationsinfo.

